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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA

UNITED STATES OF AMERICA,                          )
                                                   )      2:10-CR-00370-KJD-GWF
                      PLAINTIFF,                   )
                                                   )
VS.                                                )      MOTION FOR
                                                   )      ENLARGEMENT OF BAIL,
ALFRED T. SAPSE, and                               )      AMENDMENT OF PRETRIAL
RALPH M. CONTI, M.D.                               )      RELEASE CONDITIONS
                                                   )
                      DEFENDANTS.                  )

        Dr. RALPH M. CONTI moves the court for an order enlarging bail and amending

his pretrial release conditions to permit him to visit his attorney(s) outside the State of

Nevada for purposes of aiding and assisting in the preparation of his defense. General

trial counsel practices in Oakland, California, and his senior paralegal and investigator

live in Portland, Oregon.

        AUSA Crane Pomerantz and Dr. Conti’s pretrial release officer have expressed no

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objection to this Motion, conditioned on Dr. Conti providing Pretrial Release Services

with 24 hours notice of his intent to travel and an itinerary. The Order should reflect

those conditions and recite that Dr. Conti is not required to make further application to

this court to travel if those conditions are met.

       DATED March __ , 2012.

                                                    Respectfully submitted,

                                                    DENNIS ROBERTS
                                                    NANCY LORD
                                                    Attorneys for Dr. Ralph Conti


                                                    /s/ Nancy Lord
                                                    _____________________
                                                    Nancy Lord




                                                    IT IS SO ORDERED.
                                                    .
                                                    .
                                                    ______________________________
                                                    UNITED STATES MAGISTRATE JUDGE
                                                    DATE: MARCH 27, 2012




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